                               No. 25-1248 (Lead)
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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT
                         ____________________

                        STATE OF MARYLAND, et al.,
                                              Plaintiffs-Appellees,
                                         v.
        UNITED STATES DEPARTMENT OF AGRICULTURE, et al.,
                                        Defendants-Appellants.
                             ____________________

    On Appeal from the United States District Court for the District of Maryland
                        (James K. Bredar, District Judge)
                            ____________________

APPELLEES’ EMERGENCY PETITION FOR REHEARING EN BANC AND
      REQUEST FOR IMMEDIATE ADMINISTRATIVE STAY
                   ____________________
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             INTRODUCTION AND RULE 40(B) STATEMENT

      Appellant Agencies have engaged in the unprecedented and unlawful mass

termination of over 24,000 federal probationary employees without providing the

warnings required by federal law. As far as the Appellee States are aware, the sweep

of that unannounced purge was unparalleled in modern history. The States were left

to pick up the pieces of the shattered federal workforce—addressing numerous

unemployment compensation requests, hunting for information about newly jobless

residents, and helping our citizens seek employment as each new wave of

terminations crested. As the district court found in a careful 85-page decision based

on extensive record evidence, these mass firings were reductions in force (“RIFs”)

aimed to cut costs and reorganize agencies. Yet the Agencies flagrantly violated the

comprehensive statutory and regulatory commands that govern RIFs. Specifically,

Congress requires the Agencies to notify the States 60 days in advance of a RIF.

Here, the Agencies ignored that clear mandate and harmed the States in the process.

      Recognizing this reality, the district court promptly restored the status quo

ante by enjoining the Agencies from continuing the mass firings and reinstating only

those terminated employees whose duty station or residence is in one of the States.

The injunction does not prevent the Agencies from terminating employees for

individualized cause or from conducting future RIFs, provided that they give the
required notice. Thus far, in compliance with the injunction, the Agencies have

reinstated nearly all of the thousands of terminated employees.

      But yesterday, a divided panel of this Court stayed the preliminary injunction

with only one paragraph of reasoning and over a lengthy dissent. As a result, the

Agencies can immediately re-terminate tens of thousands of probationary

employees. The mass layoffs would again inundate the States with a wave of

unemployed residents, amplifying the harms that engendered this suit. The full

Court should vacate the panel majority’s order and leave in place the district court’s

carefully crafted preliminary injunction as this case is resolved on an expedited

briefing schedule. While the Court considers this request, the States ask for an

immediate administrative stay of the panel’s decision.

      En banc review is appropriate because the stay order conflicts with binding

precedent and involves a question of exceptional importance. First, the panel

majority’s holding that the district court likely lacked jurisdiction over the States’

claims conflicts with Supreme Court and Fourth Circuit precedent. See, e.g., Fed.

Election Comm’n v. Akins, 524 U.S. 11 (1998); Dreher v. Experian Info. Solutions,

Inc., 856 F.3d 337 (4th Cir. 2017). Its determination that the States lack standing to

vindicate concrete, pocketbook harms caused by the deprivation of information

contravenes black-letter law. The sole support for the panel decision was one

inapposite, unpublished Supreme Court order in a case concerning different kinds of

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plaintiffs (nonprofits) suing under a vastly different theory of harm. And to the

extent the majority also found that the States’ claims should be administratively

channeled, that conclusion fails the well-established Thunder Basin test, which

defines the limited circumstances in which plaintiffs must pursue administrative

adjudication. See Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994). Moreover,

such a determination would make this Court the first in the country to hold that the

Civil Service Reform Act (“CSRA”) precludes non-union, non-employee plaintiffs,

like the States, from review in any forum for a clear statutory violation.

      Second, the question at the core of this dispute is also exceptionally important:

Whether the Agencies can once again terminate more than 24,000 probationary

employees, in contravention of the express statutory protections Congress provided

to the States. Specifically, the question is whether the Agencies can do so while this

appeal is pending and being briefed on an expedited basis. In balancing the parties’

harms, the majority considered only that “the Government is unlikely to recover the

funds disbursed to reinstated probationary employees.” Dkt. 42 at 5. But the law

requires an agency to continue employing its personnel while conducting a proper

RIF. So, the only cost imposed on the Agencies is the cost of following the law.

And the panel majority did not mention the massive and unrecoverable costs the

States will incur pending final judgment. Accordingly, swift intervention of the full

Court is needed.

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                          STATEMENT OF THE CASE
      Legal Framework

      New federal employees and others who have changed offices or received

promotions are subject to probationary periods. 5 U.S.C. § 7511(a)(1); 5 C.F.R.

§ 315.801. An agency may terminate a probationary employee for one of three

reasons: (1) for conditions arising prior to employment, id. § 315.805; (2) for cause,

id. § 315.804(a); or (3) in accordance with a RIF, 5 U.S.C. § 3502.

      A RIF occurs when an agency separates employees “because of lack of work;

shortage of funds; [and/or] reorganization.”         5 C.F.R. § 351.201(a)(2).      A

reorganization “means the planned elimination, addition, or redistribution of

functions or duties in an organization.” Id. § 351.203. Agencies wishing to separate

employees under these circumstances “shall” follow RIF regulations, which extend

to probationary employees. Id. §§ 351.201(a)(2), 351.501(b), 351.502(b).

      When a RIF will result in the termination of “50 or more employees in a

competitive area,” an agency must “provide written notification of the action” 60

days in advance to the “State or the entity designated by the State to carry out rapid

response activities under title I of the Workforce Investment Act of 1998.” Id.




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§ 351.803(b); 5 U.S.C. § 3502(d)(3)(A). Absent this notice, “an employee may not

be released[] due to a reduction in force.” 5 U.S.C. § 3502(d)(1).

      This notice is mandated because, under federal law, the States must carry out

“rapid response activities” to assist dislocated workers in obtaining reemployment

when there is a “mass layoff” causing a “substantial increase[] in the number of

unemployed      individuals.”        29       U.S.C.   § 2864(a)(2)(A)(i)(II);    id.

§ 3174(a)(2)(A)(i)(II). The States are required to provide rapid response services to

those terminated as part of RIFs, including “onsite contact with employers and

employee representatives” and “employment and training” assistance.               Id.

§ 3102(51). (See also, e.g., ECF 4-5, Maryland Labor Decl. ¶ 14.) Advance notice

allows the States to support workers in finding new employment—ideally before the

RIF takes effect—and cushions the blow of sudden mass layoffs.

      Factual Background

      The current Administration aims “to dramatically reduce the size of the

federal workforce.” (ECF 78-4, CHCO Email, at 4.) On Inauguration Day, the

Office of Personnel Management (“OPM”) directed agency heads to “identify all

employees on probationary periods” and “promptly determine whether those

employees should be retained.” Mem. from Charles Ezell to Heads & Acting Heads

of Dep’ts & Agencies 1 (Jan. 20, 2025), tinyurl.com/y4cjp5wh. Less than a month

later, OPM ordered the mass termination of probationary employees. The Agencies


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obeyed, firing over 24,000 employees. (ECF 1, Compl. ¶¶ 102-40; ECF 33-2,

Redacted Decl. ¶ 5; DiMartini Decl. ¶ 13.) Each termination occurred without notice

to the States. These terminations were RIFs and were not based on individualized

for-cause findings. As a former OPM Director explained, it is “not possible . . . for

so many federal agencies to have independently and simultaneously decided to

terminate large numbers of their workers,” or “to have done proper assessments of

all these employees.” (ECF 78-9, Archuleta Decl. ¶¶ 12-13.)

      In the wake of these mass terminations, many States have seen significant

increases in the number of unemployment claims filed by former federal

employees—up several hundred percent relative to the same period last year. (See,

e.g., ECF 4-5, Maryland Labor Decl. ¶¶ 50, 52 (330% increase); ECF 4-11, New

Jersey Labor Decl. ¶¶ 14-15 (273%); ECF 4-7, California Employment Decl. ¶ 30

(149%).) To fulfill their rapid response duties, the States have had to devote

significant resources to affirmatively contact the Agencies, monitor public reporting,

and conduct mass outreach to identify impacted workers. (See, e.g., ECF 4-5,

Maryland Labor Decl. ¶¶ 16, 19-23; ECF 4-11, New Jersey Labor Decl. ¶¶ 16 -18.)

Some States diverted staff from pressing projects to retrain them to provide rapid

response services. (See, e.g., ECF 4-5, Maryland Labor Decl. ¶¶ 24-28.) Others

created new websites or set up dedicated phone lines. (See, e.g., ECF 4-5, Maryland

Labor Decl. ¶ 29; ECF 4-8, Illinois Employment Decl. ¶ 32; ECF 4-7, California

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Employment Decl. ¶ 19.)        The States still do not know exactly how many

probationary employees were terminated in each geographic area, or by what agency

those employees were terminated.

      Procedural History

      On March 6, 2025, the States sued to challenge the mass termination of

probationary employees without proper notice. The States requested that the district

court temporarily restrain further unlawful terminations of probationary employees

and preserve the status quo ante (ECF 4-1, at 3‑4.) The district court issued a

temporary restraining order (“TRO”) on a nationwide basis as to all but three

defendants. On March 25, the Agencies represented having “achieved substantial

compliance” with the TRO. (ECF 103, at 3.)

      On April 1, the district court granted the States’ preliminary injunction motion

with respect to all but one defendant. It narrowed the relief to apply only “to

employees who live or work in Plaintiff States.” (ECF 125, at 70.) The injunction

does not prevent the Agencies from terminating employees for individualized cause

or from conducting future RIFs, provided that they follow lawful procedures and

notify the States. (ECF 126 ¶ 3.)

      On April 9, over the dissent of Judge Benjamin, a panel of this Court stayed

the district court’s preliminary injunction at the request of the Agencies. The panel

majority justified its decision with a single paragraph of legal reasoning. It explained


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only that the Agencies are “likely to succeed in showing the district court lacked

jurisdiction over Plaintiffs’ claims” and are “unlikely to recover the funds disbursed

to reinstated probationary employees.” Dkt. 42 at 5. The States immediately moved

to administratively stay that decision pending rehearing en banc; the panel denied

that relief, again over Judge Benjamin’s dissent. Dkt. 48.

             REASONS FOR GRANTING REHEARING EN BANC

I.    THE PANEL MAJORITY’S JURISDICTIONAL DETERMINATION CONFLICTS
      WITH SUPREME COURT AND FOURTH CIRCUIT PRECEDENT.

      The panel majority’s conclusion that the district court lacked jurisdiction

conflicts with clear precedent from this Court and the Supreme Court. For that

reason alone, the full Court’s intervention is needed.

      A.     The States Have Standing.

      As Judge Benjamin observed, under binding precedent, “the States clearly

have standing.” Dkt. 42 at 6 (Benjamin, J., dissenting) (footnote omitted). Indeed,

the district court spent nearly 20 pages meticulously outlining the basis for the

States’ standing, detailing ample evidence of concrete harms. (ECF 125, at 8-29.)

Following Fourth Circuit and Supreme Court precedent, the district court concluded

that the States’ informational injury is cognizable under Article III. The panel

majority was wrong to conclude otherwise, and, in doing so, ran afoul of binding

precedent.



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       To establish standing, a State must show “(i) that [it] has suffered or likely

will suffer an injury in fact, (ii) that the injury likely was caused . . . by the defendant,

and (iii) that the injury likely would be redressed by the requested judicial relief.”

FDA v. Alliance for Hippocratic Med., 602 U.S. 367, 380 (2024). An informational

injury constitutes an Article III injury when there is a “lack [of] access to information

to which [one] is legally entitled” and “the denial of that information creates a ‘real’

harm with an adverse effect.” Dreher, Inc., 856 F.3d at 345 (citing Spokeo, Inc. v.

Robins, 578 U.S. 330, 340 (2016)); see also Akins, 524 U.S. at 24; Pub. Citizen v.

U.S. Dep’t of Just., 491 U.S. 440, 449 (1989); Laufer v. Naranda Hotels, LLC, 60

F.4th 156, 163-66 (4th Cir. 2023) (tracing the history of the Court’s Article III

informational injury jurisprudence). When assessing informational harm, this Court

and the Supreme Court “look to a variety of sources,” Dreher, 856 F.3d at 345,

including the “judgment of Congress,” id. at 344 (quoting Spokeo, 578 U.S. at 340).

       Here, the States asserted a direct injury based on the Agencies’ failure to

provide certain information in advance of mass terminations, as required by the RIF

statutes and regulations. See 5 U.S.C. § 3502(d)(3); 5 C.F.R. § 351.801(b). That

clear statutory violation resulted in substantial pocketbook harms and resource

strains to the States, the record evidence of which is overwhelming. These harms

are “real, [] not abstract.” Spokeo, 578 U.S. at 340 (internal quotation marks

omitted).    They include: (1) costs from the hasty rollout of rapid-response

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protocols—including retraining state employees, creating dedicated websites and

phone lines, and contacting federal agencies for information; (2) burdens associated

with processing unanticipated and “sharp” surges in unemployment claims; (3)

sudden disruptions to state programs that depend on federal workers; and (4)

unexpected financial harms from decreased tax revenue and increased reliance on

state social service programs. (ECF 125, at 9-16.)

      What is more, these are exactly the sort of harms Congress meant to forestall

by requiring warning to the States before an agency conducts mass terminations.

Accord Dreher, 856 F.3d at 345-46; Spokeo, 578 U.S. at 340-41. The States have

demonstrated their statutory entitlement to certain information and the resultant “real

harm[s] with an adverse effect.” Dreher, 856 F.3d at 345 (internal quotation marks

omitted); see also Akins, 524 U.S. at 20-25 (confirming that a group of voters’

“inability to obtain information” that Congress has decided to make public is a

sufficient injury in fact to satisfy Article III). Contra Dreher, 856 F.3d at 346

(concluding that the plaintiff alleged “a statutory violation [of the FCRA] divorced

from any real world effect”).

      Yet the panel majority concluded that the Agencies are “likely to succeed in

showing the district court lacked jurisdiction.” Dkt. 42 at 5. To get there, the

majority did not wrestle with any of this Court’s or the Supreme Court’s

informational injury cases; rather, it cited to a brief Supreme Court order in a case

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brought by a different class of plaintiffs (nonprofit organizations) concerning

different theories of harm (statutory versus non-statutory), incorrectly characterizing

that case as involving a “similar preliminary injunction.” Dkt. 42 at 5 (citing OPM

v. AFGE, No. 24A904, 2025 WL 1035208, at *1 (U.S. Apr. 8, 2025) (Mem.)).

AFGE did involve the unlawful termination of probationary employees by the

federal government. But the similarities end there.

      The only conceivable relevance of the Supreme Court’s AFGE order is its

citation to Clapper v. Amnesty International USA, 568 U.S. 398 (2013), which held

that a plaintiff may not rest its claim on a “speculative chain of possibilities.” Id. at

414. But here, the States’ injuries are anything but speculative, and there is no

dispute that they resulted directly from the Agencies’ violation of the statutory RIF

procedures.

      The States were entitled not just to information, but specifically to advance

warning, the absence of which caused irreparable harm to the States. Accordingly,

the panel majority’s conclusion that the district court likely lacked jurisdiction

conflicts with Fourth Circuit and Supreme Court precedent.

      B.      The States’ Claims Should Not Be Channeled.

      To the extent that the panel majority concluded that the State’s claims should

be “channeled” to an administrative agency, that decision conflicts with

longstanding Supreme Court precedent on jurisdiction stripping, not to mention “the


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strong presumption in favor of judicial review.” SAS Inst., Inc. v. Iancu, 584 U.S.

357, 370 (2018) (internal quotation marks omitted). Moreover, such a determination

would apparently make this Court the first in the country to hold that the CSRA

precludes non-union, non-employee plaintiffs from review for a clear statutory

violation.

      Neither the Federal Service Labor-Management Relations Statute nor the

CSRA precludes jurisdiction here. To establish preclusion, the Agencies must

satisfy Thunder Basin’s two-step framework. 510 U.S. at 207, 212. Under that

framework, a court first asks “whether Congress’s intent to preclude district-court

jurisdiction is fairly discernible in the statutory scheme.” Bennett v. SEC, 844 F.3d

174, 181 (4th Cir. 2016) (internal quotation marks omitted). It next asks “whether

plaintiffs’ claims are of the type Congress intended to be reviewed within this

statutory structure,” considering whether (1) “the statutory scheme foreclose[s] all

meaningful judicial review,” (2) “the extent to which the plaintiff’s claims are

wholly collateral to the statute’s review provisions,” and (3) “whether agency

expertise could be brought to bear” on the questions presented. Id. (alterations in

original) (internal quotation marks omitted). “[M]eaningful judicial review is the

most important factor.” Id. at 183 n.7.

      Application of this framework confirms that the district court had jurisdiction.

At step one, the CSRA’s “text, structure, and purpose” do not display a “fairly

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discernible” intent to limit jurisdiction over the States’ claims. Elgin v. Dep’t of

Treasury, 567 U.S. 1, 10 (2012). The CSRA’s administrative tribunals—the Merit

Systems Protection Board and the Federal Labor Relations Authority—are available

only to employees, unions, and employers, not to the States. 5 U.S.C. §§ 7103(a)(1)-

(2), 7123, 7703. Yet the States have clear statutory rights to notice, making it

illogical to conclude that Congress intended CSRA preclusion to encompass suits

like this one. See Koretoff v. Vilsack, 614 F.3d 532, 536 (D.C. Cir. 2010) (no

preclusion where Congress did not foreclose review to the “class” to which the

plaintiff belongs).

      Even if this Court were to proceed to step two, the CSRA still would not

preclude this suit. If the district court lacked jurisdiction, the States would be

deprived of any judicial review because they cannot access the relevant

administrative fora. And the States’ claims about notice are “wholly collateral” to

the CSRA’s administrative review scheme, Thunder Basin, 510 U.S. at 212, because

notice to the States has “nothing to do with” the labor-related matters that the

administrative tribunals “regularly adjudicate[]” between employees, unions, and

employers, Axon Enter., Inc. v. FTC, 598 U.S. 175, 193 (2023) (alteration in

original) (internal quotation marks omitted). Lastly, the administrative tribunals

specialize in individualized adjudications of employee disputes and lack the




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expertise to handle the States’ claims—i.e., that the Agencies are terminating a swath

of the federal workforce without warning the States.

      The Agencies’ reliance on cases involving ordinary employment disputes

between employees, unions, and employers is misguided. See, e.g., Dkt. 34 at 19-

21 (citing United States v. Fausto, 484 U.S. 439 (1988)). As Judge Benjamin

recognized, the States are not “trying to vindicate the interests of the terminated

workers.” Dkt. 42 at 10 (Benjamin, J., dissenting) (quoting ECF 125, at 33). Rather,

the States suffer “their own and separate harms as ‘state[s] qua states,’” Dkt. 42 at

10 (Benjamin, J., dissenting) (quoting ECF 125, at 33)—harms arising from the

Agencies’ failure to provide statutorily mandated notice, which is not “the type of

personnel action covered by” the CSRA, see Fausto, 484 U.S. at 448.

      The panel majority offered no rationale supporting channeling, and any

determination to the contrary conflicts with Thunder Basin and the background

presumption of judicial review. That too warrants rehearing en banc.

II.   THE PANEL’S ORDER RESOLVES                A   QUESTION     OF   EXCEPTIONAL
      IMPORTANCE.

      The Agencies’ unannounced termination of more than 24,000 probationary

employees is unprecedented. The Agencies effectively claim the authority to fire

employees en masse based on shifting justifications and with no process, despite

clear statutory and regulatory commands to the contrary. (See ECF 101, at 16-20.)

That is not the law. Moreover, the panel majority erroneously concluded that the

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equities tilt in the Agencies’ favor based on the costs of employing personnel until

they can be properly terminated. But these expenses are imposed by the RIF statute

itself. The panel majority also ignored the mountain of harms befalling the States,

probationary employees, and the public interest. The panel’s determination that the

Agencies may re-terminate more than 24,000 probationary employees while this

appeal proceeds on an expedited basis is exceptionally important and merits review.

      As the district court found (ECF 125, at 38-62), the Agencies terminated

probationary employees through a series of massive RIFs but ignored the relevant

legal requirements, including the requirement to provide notice to the States. The

Agencies have never disputed that they are required to provide such notice to

conduct a RIF. Yet they failed to do so. Because the Agencies’ legal violations are

clear and obvious, they have no likelihood of success on the merits, and the district

court was justified in entering a preliminary injunction. See CASA, Inc. v. Trump,

No. 25-1153, 2025 WL 654902, at *1-2 (4th Cir. Feb. 28, 2025).

      The equities favor the States as well. The panel majority’s stay invites the

Agencies to conduct another round of mass terminations, which have “cause[d] real

harm with significant adverse effects” for the States. Dkt. 42 at 8 (Benjamin, J.,

dissenting). These harms stem from the States’ legal obligation under federal and

state law to provide rapid response services and furnish benefits to their residents in

the wake of mass terminations. States have no ability to avoid these costs, and the

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Agencies have not argued otherwise. The stay will cause significant disruption,

reinstituting the same chaos that preceded the TRO. This havoc is especially

unwarranted since the panel has already scheduled argument on the preliminary

injunction for May 6. See Dkt. 44.

      Each day that probationary employees are unemployed creates rising and

likely unrecoverable costs for the States, including “substantial . . . money damages”

and the diversion of “resources and personnel to accommodate the shifting

unemployment-response landscape.” (ECF 125, at 63.) Another round of mass

terminations would compound these costs. The Agencies’ suggestion below that

terminated employees could obtain back pay ignores the nature of this suit: Back

pay to employees alone would not redress injuries to the States. As the Agencies

themselves repeatedly argued, “the only way the States could be made whole was

by reinstatement.” (ECF 125, at 65 (citing ECF 20, at 14, 17).)

      Any harm to the Agencies pales in comparison, especially considering the

district court’s tailored injunction. (See ECF 126, at ¶ 8(b)(iii) (limiting relief to

probationary employees “[w]hose duty station . . . and/or residence is in one of” the

States).) The panel majority only cursorily addresses the Agencies’ supposed harm

by noting that “the Government is unlikely to recover the funds disbursed to

reinstated probationary employees.”      Dkt. 42 at 5 (citing Dep’t of Educ. v.

California, No. 24A910, 2025 WL 1008354 (U.S. Apr. 4, 2025) (per curiam)). But

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the panel majority ignored that the Agencies “would have had to pay probationary

employees’ salaries for a statutory period anyway” under federal law. Dkt. 42 at 12

(Benjamin, J., dissenting) (emphasis added) (citing 5 C.F.R. § 351.801).

      Nor does the preliminary injunction significantly burden the Agencies’

internal affairs. To the contrary, “[r]equiring the federal government to adhere to

statutory notice requirements as set forth by federal law can hardly be considered

‘micromanaging.’” Dkt. 42 at 8 n.4 (Benjamin, J., dissenting). Indeed, the district

court explicitly permitted the Agencies to move forward with legitimate RIFs during

the pendency of this case, so long as they follow the proper procedures and provide

the statutorily required notice to the States. That the Agencies have opted not to do

so is a “self-imposed” harm. Dkt. 42 at 12 (Benjamin, J., dissenting) (internal

quotation marks omitted).

      The States should not bear the burden of the Agencies’ unprecedented and

illegal terminations. The stay will only compound that burden. It will resurrect the

harms that prompted this action, forcing the States to once again scramble to aid

residents in finding new jobs or accessing public benefits.

                                 CONCLUSION

      The petition for rehearing en banc should be granted and the panel’s April 9,

2025 stay order should be vacated.




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                                       /s/ Adam Kirschner
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are registered CM/ECF users.



                                       /s/ Adam Kirschner
                                       Adam Kirschner
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                                                                            FILED: April 9, 2025


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                             No. 25-1248
                                        (1:25-cv-00748-JKB)


        STATE OF MARYLAND; STATE OF MINNESOTA; DISTRICT OF
        COLUMBIA; STATE OF ARIZONA; STATE OF CALIFORNIA; STATE OF
        COLORADO; STATE OF CONNECTICUT; STATE OF DELAWARE; STATE
        OF HAWAII; STATE OF ILLINOIS; STATE OF MASSACHUSETTS; STATE
        OF MICHIGAN; STATE OF NEVADA; STATE OF NEW JERSEY; STATE OF
        NEW MEXICO; STATE OF NEW YORK; STATE OF OREGON; STATE OF
        RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN,

                           Plaintiffs – Appellees,

                    v.

        UNITED STATES DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS,
        in her Official Capacity as Secretary of Agriculture; UNITED STATES
        DEPARTMENT OF COMMERCE; HOWARD LUTNICK, in his Official
        Capacity as Secretary of Commerce; UNITED STATES DEPARTMENT OF
        DEFENSE; PETER HEGSETH, In his Official Capacity as Secretary of Defense;
        UNITED STATES DEPARTMENT OF EDUCATION; LINDA MCMAHON, in
        her Official Capacity as Secretary of Education; UNITED STATES
        DEPARTMENT OF ENERGY; CHRISTOPHER WRIGHT, in his Official
        Capacity as Secretary of Energy; UNITED STATES DEPARTMENT OF
        HEALTH & HUMAN SERVICES; ROBERT F. KENNEDY, JR., in his Official
        Capacity as Secretary of Health and Human Services; UNITED STATES
        DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in her Official
        Capacity as Secretary of Homeland Security; UNITED STATES DEPARTMENT
        OF HOUSING & URBAN DEVELOPMENT; SCOTT TURNER, in his Official
        Capacity as Secretary of Housing and Urban Development; UNITED STATES
        DEPARTMENT OF THE INTERIOR; DOUGLAS BURGUM, in his Official
        Capacity as Secretary of the Interior; UNITED STATES DEPARTMENT OF
        LABOR; VINCENT MICONE, in his Official Capacity as Acting Secretary of
        Labor; UNITED STATES DEPARTMENT OF TRANSPORTATION; SEAN P.
        DUFFY, in his Official Capacity as Secretary of Transportation; UNITED STATES
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        DEPARTMENT OF THE TREASURY; SCOTT BESSENT, in his Official
        Capacity as Secretary of the Treasury; UNITED STATES DEPARTMENT OF
        VETERANS AFFAIRS; DOUGLAS A. COLLINS, in his Official Capacity as
        Secretary of Veterans Affairs; CONSUMER FINANCIAL PROTECTION
        BUREAU; RUSSELL VOUGHT, in his Official Capacity as Acting Director of the
        Consumer Financial Protection Bureau; UNITED STATES ENVIRONMENTAL
        PROTECTION AGENCY; LEE ZELDIN, in his Official Capacity as Administrator
        of the Environmental Protection Agency; FEDERAL DEPOSIT INSURANCE
        CORPORATION; TRAVIS HILL, in his Official Capacity as Acting Chairman of
        the Federal Deposit Insurance Corporation; GENERAL SERVICES
        ADMINISTRATION; STEPHEN EHIKIAN, in his Official Capacity as Acting
        Administrator of the General Services Administration; NATIONAL ARCHIVES
        AND RECORDS ADMINISTRATION; OFFICE OF PERSONNEL
        MANAGEMENT; CHARLES EZELL, in his Official Capacity as Acting Director
        of the Office of Personnel Management; SMALL BUSINESS
        ADMINISTRATION; KELLY LOEFLER, in her Official Capacity as
        Administrator of the Small Business Administration; UNITED STATES AGENCY
        FOR INTERNATIONAL DEVELOPMENT; MARCO RUBIO, in his Official
        Capacity as Acting Administrator of the United States Agency for International
        Development and Archivist for the National Archives and Records Administration,

                           Defendants – Appellants.



                                            No: 25-1338
                                        (1:25-cv-00748-JKB)


        STATE OF MARYLAND; STATE OF MINNESOTA; DISTRICT OF
        COLUMBIA; STATE OF ARIZONA; STATE OF CALIFORNIA; STATE OF
        COLORADO; STATE OF CONNECTICUT; STATE OF DELAWARE; STATE
        OF HAWAII; STATE OF ILLINOIS; STATE OF MASSACHUSETTS; STATE
        OF MICHIGAN; STATE OF NEVADA; STATE OF NEW JERSEY; STATE OF
        NEW MEXICO; STATE OF NEW YORK; STATE OF OREGON; STATE OF
        RHODE ISLAND; STATE OF VERMONT; STATE OF WISCONSIN,

                           Plaintiffs – Appellees,

                     v.



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        UNITED STATES DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS,
        in her Official Capacity as Secretary of Agriculture; UNITED STATES
        DEPARTMENT OF COMMERCE; HOWARD LUTNICK, in his Official
        Capacity as Secretary of Commerce; UNITED STATES DEPARTMENT OF
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        DEPARTMENT OF HOMELAND SECURITY; KRISTI NOEM, in her Official
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        INSURANCE CORPORATION; TRAVIS HILL, in his Official Capacity as Acting
        Chairman of the Federal Deposit Insurance Corporation; GENERAL SERVICES
        ADMINISTRATION; STEPHEN EHIKIAN, in his Official Capacity as Acting
        Administrator of the General Services Administration; NATIONAL ARCHIVES
        AND RECORDS ADMINISTRATION; OFFICE OF PERSONNEL
        MANAGEMENT; CHARLES EZELL, in his Official Capacity as Acting Director
        of the Office of Personnel Management; SMALL BUSINESS
        ADMINISTRATION; KELLY LOEFLER, in her Official Capacity as
        Administrator of the Small Business Administration; UNITED STATES AGENCY
        FOR INTERNATIONAL DEVELOPMENT; MARCO RUBIO, in his Official
        Capacity as Acting Administrator of the United States Agency for International
        Development and Archivist for the National Archives and Records Administration,

                           Defendants – Appellants.
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                                                ORDER


              Pending before the Court is the Government’s Motion for a Stay Pending Appeal.

        Plaintiffs—nineteen States and the District of Columbia—sued forty-one Defendants,

        which are federal executive departments and their secretaries as well as other federal

        agencies and their heads (collectively, the Government).       Plaintiffs allege that the

        Government violated federal law when it terminated thousands of probationary federal

        employees without following the procedures required for a reduction in force, including

        advance notice to the affected States. See 5 U.S.C. § 3502; 5 C.F.R. § 351.803(b). The

        district court agreed with Plaintiffs and entered a preliminary injunction requiring the

        Government to reinstate the probationary employees who reside or work in Plaintiff States

        and refrain from further alleged reductions in force except in compliance with the notice

        requirements of § 3502. Maryland v. USDA, --- F. Supp. 3d ---, 2025 WL 973159, at *40-

        42 (D. Md. April 1, 2025).

              The Government now asks us to stay the district court’s preliminary injunction.

        Among other things, the Government argues that the States lack Article III standing to

        challenge the terminations and that the district court lacked subject-matter jurisdiction

        because the Civil Service Reform Act of 1978, Pub. L. No. 95-454, provides the exclusive

        means for review of personnel actions taken against federal employees.

              Having reviewed the record, the district court’s opinion, and the parties’ briefing,

        we agree with the Government that it has satisfied the factors for a stay under Nken v.
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        Holder, 556 U.S. 418, 426 (2009). The Government is likely to succeed in showing the

        district court lacked jurisdiction over Plaintiffs’ claims, and the Government is unlikely to

        recover the funds disbursed to reinstated probationary employees. Cf. Dep’t of Educ. v.

        California, No. 24A910, 2025 WL 1008354, at *1 (U.S. Apr. 4, 2025) (per curiam). The

        Supreme Court has stayed a similar preliminary injunction issued by the United States

        District Court for the Northern District of California. See OPM v. AFGE, No. 24A904,

        2025 WL 1035208, at *1 (U.S. Apr. 8, 2025) (mem.). We therefore grant the Government’s

        motion for a stay of the preliminary injunction pending this appeal. The Clerk will set an

        expedited briefing schedule.

               Entered at the direction of Judge Rushing, with the concurrence of Judge Wilkinson.

        Judge Benjamin filed a separate dissenting opinion.

                                                          For the Court

                                                          /s/ Nwamaka Anowi, Clerk




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        DEANDREA GIST BENJAMIN, Circuit Judge, dissenting:

               The majority votes to stay the preliminary injunction pending the resolution of the

        appeal. The district court entered a well-reasoned memorandum opinion and order granting

        a preliminary injunction, and then denied a motion for stay pending appeal. For the below

        reasons and those explained in thorough detail by the district court, I would deny the

        Government’s motion.



                                                      I.

                                                      A.

               As a threshold matter, per the district court’s order, the States1 clearly have standing

        to challenge the process by which the Government has engaged in mass firings.2 To

        establish standing, “the plaintiff must have a ‘ “personal stake” ’ in the case.” TransUnion

        LLC v. Ramirez, 594 U.S. 413, 423 (2021) (quoting Raines v. Byrd, 521 U.S. 811, 819

        (1997)). To prove a personal stake, “plaintiffs must be able to sufficiently answer the

        question: ‘ “What’s it to you?” ’ ” Id. (quoting Antonin Scalia, The Doctrine of Standing


               1
                Plaintiff States are a consortium of nineteen states (Maryland, Minnesota, Arizona,
        California, Colorado, Connecticut, Delaware, Hawaii, Illinois, Massachusetts, Michigan,
        Nevada, New Jersey, New Mexico, New York, Oregon, Rhode Island, Vermont,
        Wisconsin) and the District of Columbia.
               2
                 This is an important distinction. The Government repeatedly mischaracterizes the
        basis of the States’ claims, suggesting that the States are attempting to sue on behalf of
        their respective citizens for alleged unlawful firings. This mischaracterization not only
        misses the point but—more seriously—distracts from the States’ actual alleged harm. The
        States were entitled to proper notice, which the Government did not give. That is the basis
        for the instant suit.

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        as an Essential Element of the Separation of Powers, 17 Suffolk U. L. Rev. 881, 882

        (1983)). A satisfactory answer to this question requires a plaintiff to show “(i) that he

        suffered an injury in fact that is concrete, particularized, and actual or imminent; (ii) that

        the injury was likely caused by the defendant; and (iii) that the injury would likely be

        redressed by judicial relief.” Id. (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–

        61 (1992)).

               The Supreme Court has recognized that certain intangible injuries, including an

        “informational injury,” can support standing. See, e.g., Fed. Election Comm’n v. Akins,

        524 U.S. 11, 24–25 (1998); Pub. Citizen v. U.S. Dep’t of Justice, 491 U.S. 440, 449 (1989).

        “A statutory violation alone,” however, “does not create a concrete informational injury

        sufficient to support standing.” Dreher v. Experian Info. Sols., Inc., 856 F.3d 337, 345 (4th

        Cir. 2017) (citing Spokeo, Inc. v. Robins, 578 U.S. 330, 341–42 (2016)). Instead, a

        “constitutionally cognizable informational injury requires that a person lack access to

        information to which he is legally entitled and that the denial of that information creates a

        ‘real’ harm with an adverse effect.” Id. (quoting Spokeo, 578 U.S. at 339–40).

               By this standard, the States’ informational injury cannot be a “dead end,” as the

        Government claims. See Mot. for stay pending appeal at 1. First, pursuant to 5 U.S.C.

        § 3502(d), the Government was legally required to inform the States at least 60 days before

        any reduction in force (“RIF”). See also 5 C.F.R. § 351.803(b). The Government failed

        to do so, thereby depriving the States of information to which they were legally entitled

        and satisfying the first requirement of a constitutionally cognizable informational injury.

        See Dreher, 856 F.3d at 345. Next, as discussed in depth by the district court, the denial
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        of this notice has, and will continue to, cause real harm with significant adverse effects.

        See Mem. Op. on prelim. inj. (D. ECF No. 125) at 10–16.3 Such adverse effects include,

        but are not limited to, an increase in unemployment benefits applications, an increase in

        the resources required to investigate this influx in unemployment benefits applications,

        additional financial and labor costs associated with the sudden strain placed on rapid

        response programs without advance notice, unanticipated loss of tax revenue, and the loss

        of support from federal employees who were working with various state agencies.4 See id.

        These harms, among others, plainly satisfy the concreteness requirement and thus provide

        the necessary grounds for Article III standing. See Dreher, 856 F.3d at 345.

               Further, the district court correctly distinguished this case from United States v.

        Texas, 599 U.S. 670 (2023). Asking the Government “to change its arrest or prosecution

        policies so that the Executive Branch makes more arrests or initiates more prosecutions” is

        a far cry from requiring the Government to adhere to a statutory notice requirement. See

        id. at 677. The former “run[s] up against the Executive’s Article II authority to enforce



               3
                Page numbers for citations to ECF documents utilize the document’s native
        numbering.
               4
                 The Government’s argument regarding the harms suffered by the States as a result
        of the lack of statutory notice is concerning. See Mot. for stay pending appeal at 13
        (arguing that allowing standing “based on downstream harms to state budgets and
        operations from the termination of probationary employees” is “a recipe for any state to
        micromanage the activities of the federal government” and “irreconcilable with Supreme
        Court precedent”). Requiring the federal government to adhere to statutory notice
        requirements as set forth by federal law can hardly be considered “micromanaging.” As
        explained below, the Government had the opportunity to conduct the RIF according to
        statutory procedure and chose not to do so.

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        federal law” and seeks to mandate something of the Government that was not already

        required. Id. at 678. The latter merely asks the Government to comply with a required

        procedure.

               In the same vein, the relationship between the action (or inaction) by the

        Government and the alleged harm is also distinct. In Texas, the states sought damages for

        the costs associated with incarceration and social services based on the Government’s

        failure to exercise its discretion—i.e., its discretionary inaction. Id. at 674, 684–85. Here,

        the alleged harms, namely, the unexpected increased financial burden placed on rapid

        response programs, are a result of the Government’s failure to adhere to statutory notice

        requirements—i.e., its actions contrary to law. One is tangentially related to actions that

        the Government was not required to take, while the other is directly related to an action

        the Government was required to and failed to take. For these reasons, and those aptly

        explained by the district court, Texas is inapplicable here.5




               5
                 On April 8, 2025, the Supreme Court stayed the preliminary injunction entered by
        the United States District Court for the Northern District of California in its similar
        probationary employee RIF case. See OPM v. AFGE, No. 24A904 (U.S. Apr. 8, 2025).
        The Ninth Circuit had denied a motion to stay pending appeal. See Am. Fed’n of Gov’t
        Emps., AFL-CIO v. United States Off. of Pers. Mgmt., No. 25-1677, 2025 WL 914823 (9th
        Cir. Mar. 26, 2025). Like United States v. Texas, 599 U.S. 670 (2023), the decision in
        AFGE is not applicable to the present case. The Supreme Court specifically noted “[t]he
        District Court’s injunction was based solely on the allegations of the nine non-profit-
        organization plaintiffs.” See AFGE, No. 24A904. The basis of standing is different here,
        where States are suing under a statutory scheme relevant to states.

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               Accordingly, the States have successfully answered the question: “What’s it to

        them?”    See TransUnion LLC, 594 U.S. at 423.           Standing based on the alleged

        informational injury is thus appropriate here.

                                                     B.

               Nor does the Civil Service Reform Act of 1978 (“CSRA”), 5 U.S.C. §§ 7101–35,

        defeat the district court’s jurisdiction. The CSRA “provides for the original and exclusive

        administrative review of certain labor- and employment-related claims brought by federal

        employees and/or their unions.” Mem. Op. on prelim. inj. at 32. The Government argues

        the CSRA precludes the States’ claims because “at bottom, [they] rest on allegations that

        the government unlawfully terminated probationary employees . . . and the states sought—

        and the district court granted—reinstatement of affected employees.” Mot. for stay

        pending appeal at 21–22.

               The States do not dispute that they cannot receive relief under the CSRA—instead,

        they have consistently argued that their harm arises from an independent “statutory right[]

        to notice.” Mem. in support of motion for prelim. inj. (D. ECF No. 78-1) at 15. I, like the

        district court, am not prepared to accept “the faulty premise that the States [are] simply

        trying to vindicate the interests of the terminated workers (as opposed to their own and

        separate harms as ‘state qua states’).” Mem. Op. on prelim. inj. at 33.

               I also cannot ignore the Supreme Court’s analytical framework for assessing

        whether a district court is divested of jurisdiction in favor of the Government’s preferred

        framework. As ably set out by the district court, “pursuant to . . . Thunder Basin Coal Co.

        v. Reich, 510 U.S. 200 (1994), there [is] no reason to believe Congress ha[s] divested the
                                                    10
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        district courts of jurisdiction over the States’ claims in this case.” Mem. Op. on prelim.

        inj. at 31; see also id. at 31–33. The Government’s attempt to review the jurisdictional

        question pursuant to Block v. Community Nutrition Institute, 467 U.S. 340 (1984) is

        unavailing and “rel[ies] crucially on the idea that there is an identity of interests between

        the States and the fired employees.” Id. at 37; see also id. at 35–37. “But,” as the district

        court made clear, “that is not so.” Id. at 37.

               For the above reasons, I do not believe the Government can defeat the States’

        standing.



                                                         II.

               The Government also cannot satisfy the standard for a stay pending appeal. Those

        factors are “(1) whether the stay applicant has made a strong showing that he is likely to

        succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay;

        (3) whether issuance of the stay will substantially injure the other parties interested in the

        proceeding; and (4) where the public interest lies.” Nken v. Holder, 556 U.S. 418, 434

        (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)).

               The Government must satisfy all four factors. But I do not believe it can satisfy

        any. I write to highlight the Government’s lack of a convincing argument on irreparable

        harm. See Nken, 556 U.S. at 434–35 (2009). The Government asserts that it cannot recover

        salaries it is currently paying to reinstated probationary employees, and that the preliminary

        injunction is a disruption to the CSRA process. See Mot. for stay pending appeal at 25–

        27.
                                                         11
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               The Government’s monetary injury, if any, is “ ‘self-imposed.’ ” See Dep’t of Educ.

        v. California, __ S. Ct. __, __, No. 24A910, 2025 WL 1008354, at *1 (quoting Cuomo v.

        U.S. Nuclear Regul. Comm’n, 772 F.2d 972, 977 (D.C. Cir. 1985) (per curiam)). The

        preliminary injunction order expressly states “[n]othing in this Order prohibits the

        Government from conducting lawful terminations of probationary federal employees—

        whether (1) pursuant to a proper RIF . . . or else (2) for cause . . . under the standards for

        making such determinations set forth in the TRO Memorandum.” Prelim. Inj. order (D.

        ECF No. 126) at 2 n.1. Additionally, if the Government had followed the statutory RIF

        notice procedure, it would have had to pay probationary employees’ salaries for a statutory

        period anyway. See 5 C.F.R. § 351.801. And, as explained earlier, the States are not

        alleging a violation of the CSRA, nor are they attempting to step into the probationary

        employees’ place for a CSRA challenge. See Mem. Op. on prelim. inj. at 33–37.



                                                     III.

               I see no reason to stay the district court’s preliminary injunction pending its appeal.

        For the foregoing reasons, I respectfully dissent.




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